  Case 5:20-mc-00024-JGB-SP Document 13 Filed 01/28/21 Page 1 of 2 Page ID #:186

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.          5:20-mc-24-JGB (SPx)                                          Date   January 28, 2021
 Title             Interior Electric Incorporated Nevada v. Melinda Beverly, et al.




 Present: The                     Sheri Pym, United States Magistrate Judge
 Honorable
                Kimberly Carter                                None                             None
                 Deputy Clerk                        Court Reporter / Recorder                Tape No.
                Attorneys Present for Plaintiff:                     Attorneys Present for Defendant:
                         None Present                                         None Present
 Proceedings:                 (In Chambers) Order Directing Respondents to Respond to the
                              Declaration in Support of Movant’s Request for Attorneys’ Fees

       On January 20, 2021, movant Interior Electric Incorporated Nevada, by and
through its attorney of record Chad F. Clement, filed a declaration in support of its
request for attorneys’ fees (“Clement Decl.”) pursuant to the court’s order granting
movant’s motion to compel compliance with its Rule 45 subpoenas. Docket no. 12.
Movant seeks a total of $22,290.00 for attorneys’ fees and costs, based on 78.1 hours of
work by movant’s counsel between January 23, 2020 and December 23, 2020, incurred in
attempting to obtain respondents Melinda Beverly’s and Schiff & Shelton’s compliance
with its subpoenas, and preparing for and filing the motion to compel and other related
filings. See Clement Decl. ¶ 13. Movant’s attorneys’ fees can be broken down as
follows: $7,247.50 for 22.3 hours by Chad F. Clement; $2,340.00 for 7.2 hours by Cody
S. Mounteer; $9,130.00 for 33.2 hours by Jared M. Moser; $2,925.00 for 11.7 hours by
Collin M. Jayne; and $647.50 for 3.7 hours by counsel’s paralegal. Id. ¶¶ 14-16.

       Movant indicates that despite receiving Shelton’s and Beverly’s Affidavits of
Custodian of Record, respondents have continued their refusal to produce any of the
attachments to the emails between Nevada defendant Matthew Ryba and Beverly’s prior
counsel, which emails Shelton had previously provided to movant’s counsel Moser on
October 8, 2020. Id. ¶¶ 5-8. Those attachments are represented in those emails to
include, without limitation, W-2s and Schedule K-1s for movant’s former key employees,
who are defendants in the Nevada action, as well as various subcontracts and change
orders from Ryba. Id. ¶ 8. Instead of providing the attachments at issue, respondents
produced unresponsive documents, including Beverly’s divorce and equalization
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 2
  Case 5:20-mc-00024-JGB-SP Document 13 Filed 01/28/21 Page 2 of 2 Page ID #:187

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proceedings and an email with a text message attachment that was already in movant’s
possession, which the subpoenas at issue did not request. Id. ¶¶ 5, 7, 9.

       Under Fed. R. Civ. P. 37(b)(2)(C), if a party fails to obey an order or permit
discovery, “the court must order the disobedient party, the attorney advising the party, or
both to pay the reasonable expenses, including attorney’s fees, caused by the failure,
unless the failure was substantially justified or other circumstances make an award of
expenses unjust.” Here, despite the court’s order granting movant’s motion to compel
compliance with its subpoenas and requiring respondents to produce all responsive
documents in their possession, it appears they have continued their refusal to produce any
of the attachments to the emails between Matthew Ryba and Melinda Beverly’s prior
counsel. Clement Decl. ¶ 13. However, it is unclear whether such attachments are within
respondents’ possession, custody, and control, and if respondents have produced
responsive documents to the other five categories requested by the subpoenas at issue.

       Accordingly, the court hereby directs respondents Melinda Beverly and Schiff &
Shelton to respond to the instant declaration in support of movant’s request for attorneys’
fees, and to clarify whether they have produced any of the responsive documents at issue,
by February 8, 2021.




CV-90 (06/04)                              CIVIL MINUTES - GENERAL                                Page 2 of 2
